      Case 2:22-cv-00184-LCB-CWB Document 609 Filed 06/25/24 Page 1 of 4




                     UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

Brianna Boe, et al.,                   )
                                       )
       Plaintiffs,                     )
                                       )
and                                    )
                                       )
United States of America,              )
                                       )
       Plaintiff-Intervenor,           )
                                       )
v.                                     ) No. 2:22-cv-00184-LCB-CWB
                                       )
Hon. Steve Marshall, in his official   )
capacity as Attorney General of the    )
State of Alabama, et al.,              )
                                       )
       Defendants.                     )


                     NOTICE OF CONVENTIONAL FILING
    Case 2:22-cv-00184-LCB-CWB Document 609 Filed 06/25/24 Page 2 of 4




      The United States of America files this notice of conventional filing as to its

Brief in Support of its Motion to Exclude Certain Testimony by Doctors James

Cantor, Farr Curlin, Paul Hruz, Kristopher Kaliebe, Michael Laidlaw, Patrick

Lappert, Geeta Nangia, and Angela Thompson, and Exhibits thereto. The

following was conventionally filed on June 25, 2024:

 Document       Description
 Doc. 591       United States Brief in Support of its Motion to Exclude Certain
                Testimony (Under Seal)
 U.S. Ex. 1     Cantor Report
 U.S. Ex. 2     Cantor Deposition Transcript (Under Seal)
 U.S. Ex. 3     Cantor Supplemental Report
 U.S. Ex. 4     Curlin Report
 U.S. Ex. 5     Curlin Deposition Transcript
 U.S. Ex. 6     Hruz Report
 U.S. Ex. 7     Hruz Deposition Transcript
 U.S. Ex. 8     Hruz Supplemental Report (Under Seal)
 U.S. Ex. 9     Kaliebe Report
 U.S. Ex. 10    Kaliebe Deposition Transcript (Under Seal)
 U.S. Ex. 11    Kaliebe Supplemental Report
 U.S. Ex. 12    Laidlaw Report
 U.S. Ex. 13    Laidlaw Deposition Transcript (Under Seal)
 U.S. Ex. 14    Laidlaw First Supplemental Report (Under Seal)
 U.S. Ex. 15    Laidlaw Second Supplemental Report (Under Seal)
 U.S. Ex. 16    Lappert Report
 U.S. Ex. 17    Lappert Deposition Transcript
 U.S. Ex. 18    Nangia Report
 U.S. Ex. 19    Nangia Deposition Transcript (Under Seal)
 U.S. Ex. 20    Nangia First Supplemental Report (Under Seal)
 U.S. Ex. 21    Nangia Second Supplemental Report (Under Seal)
 U.S. Ex. 22    Thompson Report
 U.S. Ex. 23    Thompson Deposition Transcript
 U.S. Ex. 24    Cantor Supplemental Report Appendix A



                                         2
    Case 2:22-cv-00184-LCB-CWB Document 609 Filed 06/25/24 Page 3 of 4




Dated: June 25, 2024               Respectfully submitted,

JONATHAN S. ROSS                   KRISTEN CLARKE
Acting United States Attorney      Assistant Attorney General
Middle District of Alabama         Civil Rights Division

PRIM F. ESCALONA                   CHRISTINE STONEMAN
United States Attorney             Chief, Federal Coordination and Compliance
Northern District of Alabama       Section

JASON R. CHEEK                     COTY MONTAG (DC Bar No. 498357)
Chief, Civil Division              Deputy Chief, Federal Coordination and
                                   Compliance Section
MARGARET L. MARSHALL
Assistant U.S. Attorney            RENEE WILLIAMS (CA Bar No. 284855)
U.S. Attorney’s Office             KAITLIN TOYAMA (CA Bar No. 318993)
Northern District of Alabama       Trial Attorneys
1801 Fourth Avenue North           United States Department of Justice
Birmingham, AL 35203               Civil Rights Division
Tel.: (205) 244-2104               Federal Coordination and Compliance Section
Margaret.Marshall@usdoj.gov        950 Pennsylvania Avenue NW – 4CON
                                   Washington, DC 20530
STEPHEN D. WADSWORTH               Tel.: (202) 305-2222
Assistant United States Attorney   Renee.Williams3@usdoj.gov
U.S. Attorney’s Office             Kaitlin.Toyama@usdoj.gov
Middle District of Alabama
Post Office Box 197                /s/ James Fletcher
Montgomery, AL 36101-0197          JAMES V. FLETCHER (MD Bar No.
Tel.: (334) 223-7280               1412160273)
Stephen.Wadsworth@usdoj.gov        Trial Attorney
                                   United States Department of Justice
                                   Civil Rights Division
                                   Disability Rights Section
                                   950 Pennsylvania Avenue NW – 4CON
                                   Washington, DC 20530
                                   Tel. (202) 598-0083
                                   James.Fletcher@usdoj.gov

                                   Attorneys for Plaintiff-Intervenor United States
                                   of America

                                     3
    Case 2:22-cv-00184-LCB-CWB Document 609 Filed 06/25/24 Page 4 of 4




                        CERTIFICATE OF SERVICE

      I hereby certify that on June 25, 2024, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to counsel of record.

                                            Respectfully submitted,

                                            /s/ James Fletcher
                                            Trial Attorney
                                            Disability Rights Section
                                            Civil Rights Division
                                            U.S. Department of Justice




                                        4
